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                                             CIVIL COVER SHEET
The civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by
law, except as provided by local rules of court. This form isrequired for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE
INSTRUCTIONS ON THE REVERSE OF THE FORM.)
   (a) PLAINTIFFS                                                                                               DEFENDANTS
          James Gibson                                                                                           The City of Chicago, former Chicago Police Officers, Maslanka.
                                                                                                                 Moser, Byrne, Ceasar, Paladino, Leja, Rusnak, Breska, Est. of McCan,
                                                                                                                 Est. of McCarthy, Est of Ptak, Est. of Collins, Ext. of Omara & Est of
                                                                                                                 B
  (b)    County of Residence of First Listed Plaintiff Cook                                                     County of Residence of First Listed Defendant Cook
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                    NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                           LAND INVOLVED.

  (c)    Attorney¶s (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
         Joel A. Brodsky                                                                                         Andrew M. Hale and Shawn Barnett
         8 S. Michigan Ave., Suite 3200                                                                          Hale & Monico LLC
         Chicago, IL 60603                                                                                       53 W. Jackson Blvd., Suite 330, Chicago, IL 60603
II. BASIS OF JURISDICTION                             (Place an ³X´ in One Box Only)         III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an ³X´ in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                        and One Box for Defendant)
                                                                                                                               PTF         DEF                                       PTF         DEF
   1 U.S. Government                  ■ 3 Federal Question                                          Citizen of This State            1        1     Incorporated or Principal Place         4         4
       Plaintiff                                    (U.S. Government Not a Party)                                                                     of Business In This State

   2 U.S. Government                         4 Diversity                                            Citizen of Another State         2        2     Incorporated and Principal Place        5         5
       Defendant                                  (Indicate Citizenship of Parties                                                                    of Business In Another State
                                                  in Item III)
                                                                                                    Citizen or Subject of a          3        3     Foreign Nation                          6         6
                                                                                                      Foreign Country
IV. NATURE OF SUIT                           (Place an ³X´ in One Box Only)
         CONTRACT                                                 TORTS                             FORFEITURE/PENALTY                      BANKRUPTCY                     OTHER STATUTES
   110 Insurance                          PERSONAL INJURY                PERSONAL INJURY                610 Agriculture                   422 Appeal 28 USC 158           400 State Reapportionment
   120 Marine                              310 Airplane                  362 Personal Injury²           620 Other Food & Drug                                             410 Antitrust
   130 Miller Act                          315 Airplane Product              Med. Malpractice           625 Drug Related Seizure          423 Withdrawal                  430 Banks and Banking
   140 Negotiable Instrument                   Liability                 365 Personal Injury ²              of Property 21 USC 881           28 USC 157                   450 Commerce/ICC Rates/etc.
   150 Recovery of Overpayment             320 Assault, Libel &              Product Liability          630 Liquor Laws                                                   460 Deportation
     & Enforcement of Judgment                 Slander                   368 Asbestos Personal          640 R.R. & Truck                 PROPERTY RIGHTS                  470 Racketeer Influenced and
   151 Medicare Act                        330 Federal Employers¶            Injury Product             650 Airline Regs.                                                     Corrupt Organizations
                                                                                                                                          820 Copyrights
   152 Recovery of Defaulted                   Liability                     Liability                  660 Occupational                                                  480 Consumer Credit
                                                                                                                                          830 Patent
       Student Loans (excl. vet.)          340 Marine                  PERSONAL PROPERTY                     Safety/Health                                                490 Cable/Satellite TV
                                                                                                                                          840 Trademark
   153 Recovery of Overpayment             345 Marine Product            370 Other Fraud                690 Other                                                         810 Selective Service
       of Veteran¶s Benefits                   Liability                 371 Truth in Lending                                                                             850 Security/Commodity/Exch.
   160 Stockholders¶ Suits                 350 Motor Vehicle             380 Other Personal                   LABOR                      SOCIAL SECURITY                  875 Customer Challenge
   190 Other Contract                      355 Motor Vehicle                 Property Damage                                                                                  12 USC 3410
                                                                                                        710 Fair Labor Standards          861 HIA (1395ff)
   195 Contract Product Liability              Product Liability         385 Property Damage                                                                              891 Agricultural Acts
                                                                                                            Act                           862 Black Lung (923)
   196 Franchise                           360 Other Personal Inj.           Product Liability                                                                            892 Economic Stabilization Act
                                                                                                        720 Labor/Mgmt. Relations         863 DIWC/DIWW (405(g))
                                                                                                                                                                          893 Environmental Matters
       REAL PROPERTY                       CIVIL RIGHTS               PRISONER PETITIONS                                                  864 SSID Title XVI
                                                                                                                                                                          894 Energy Allocation Act
                                                                                                        730 Labor/Mgmt.Reporting          865 RSI (405(g))
                                                                                                                                                                          895 Freedom of Information Act
   210 Land Condemnation                   441 Voting                     510 Motions to Vacate             & Disclosure Act
                                                                                                                                         FEDERAL TAX SUITS                900 Appeal of Fee
   220 Foreclosure                         442 Employment                     Sentence                  740 Railway Labor Act
                                                                                                                                                                              Determination Under
   230 Rent Lease & Ejectment              443 Housing/                   Habeas Corpus:
                                                                                                                                         870 Taxes (U.S. Plaintiff            Equal Access to Justice
   240 Torts to Land                           Accommodations             530 General                   790 Other Labor Litigation
                                                                                                                                             or Defendant)                950 Constitutionality of
   245 Tort Product Liability              444 Welfare                    535 Death Penalty
                                                                                                                                                                               State Statutes
   290 All Other Real Property             445 ADA²-Employment            540 Mandamus & Other          791 Empl. Ret. Inc.
                                                                                                                                         871 IRS²Third Party              890 Other Statutory Actions
                                           446 ADA ² Other                550 Civil Rights                  Security Act                     26 USC 7609
                                      ■    440 Other Civil Rights         555 Prison Condition

                         (PLACE AN ³X´ IN ONE BOX ONLY)                                                                                                                            Appeal to District
V. ORIGIN                                                                                                                  Transferred from                                        Judge from
   1    Original        ■   2    Removed from                 3      Remanded from                4 Reinstated or        5 another district             6 Multidistrict          7 Magistrate
        Proceeding               State Court                         Appellate Court                Reopened               (specify)                      Litigation               Judgment
VI. CAUSE OF ACTION                          (Enter U.S. Civil Statute under which you are filing and write         VII. PREVIOUS BANKRUPTCY MATTERS (For nature of
                                             a brief statement of cause.)                                           suit 422 and 423, enter the case number and judge for any associated
                                                                                                                    bankruptcy matter perviously adjudicated by a judge of this Court. Use a
42 USC Section 1983                                                                                                 separate attachment if necessary)


VIII. REQUESTED IN                               CHECK IF THIS IS A CLASS ACTION                      DEMAND $                                    CHECK YES only if demanded in complaint:
    COMPLAINT:                                   UNDER F.R.C.P. 23                                                                                JURY DEMAND:           ■ Yes       No

                                 ■   is not a refiling of a previously dismissed action.
IX. This case
                                     is a refiling of case number                                       , previously dismissed by Judge
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
        06/20/2019
                                                                          /s/ Andrew M. Hale
